onl_ds§.oo CaSe 1:05-cv-01033-tmp Document6 Filed 04/22/05 PagelofS Page|Dl

IN THE UNITED sTATEs DISTRICT coURT /‘7[@
FoR THE WESTERN DISTRICT or TENNESSEE 05 ,\ (j
EASTERN DIvrsIoN ‘~ s
MICHAEL LEE sHoRTs ) ,q»'?ti;;:;;@ 'o 3
Plaintiff ) ;;/Q`;r;,':/? 49

) ` /?0 0

v. ) No.- 1 05 1033 T/An/rl/ / §,{)/S/"é<§
)
BENDELL BARTHoLoMEW rndividually and )
in his official capacity, CARROLL COUNTY )
sHERRIFF and correr oF CARRoLL )
Defendant(s) )

 

ORDER GRANTING THE EXTENSION OF TIME TO FILE
A RESPONSIVE PLEADING TO DEFENDANTS

 

Upon motion of the Defendants, Bendell Bar'tholornew, Carroll County Sheriff, in his official
capacity only, and Carroll County, Tennessee, to extend time to file a responsive pleading, statements of
counsel for these Defendants, and the entire record, it is,

HER.EBY OR.DERED, ADIUDGED AND DECREED that the Defendants are granted an extension
of time to serve responsive pleadings with said responsive pleadings to be served on or before May 6, 2005.

DATED: This the _Q:’id'day of April, 2005.

C§’%afaa)

UNITED STATES MAGISTRA'I'E JUDGE S. THOMAS ANDERSON

This document entered on the docket sheet in compiiance
with Rule 58 and,‘or_?g (a) FRCP on

AP§ROVN%§:%§I§k-QlOSS-tmp Document6 Filed 04/22/05 PageZofS Page|DZ

P:NTE:ZT, GLENN&RUD UDD, LLC

 

jamesl. Pentecost #11640
Brandon O. Gibson #21485
Attorneys for Defendants
106 Stonebridge Blvd
Jackson, Tennessee 38305
(731) 668~5995

CERTIFICATE OF SERVICE

This is to certify that I served a copy of this pleading or paper personally or by mail upon each
attorney or firm of attorneys appearing of record for each adverse party on or before the filing date
thereofl

DATE:This the M%lay of April, 2005.

PENTECOST, GLENN & RUDD, PLLC

B.U/Mm O>£Z§

B"randon O. Gibson
SERVED UPON:

Benjamin S. Dempsey
12690 Lexington Street
PO Box 711
Huntingdon, TN 38344

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case l:05-CV-01033 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

Benjamin S. Dernpsey

LAW OFFICES OF BENJAMIN S. DEMPSEY
P.O. BoX 71 l

12690 Lexington Street

Huntingdon, TN 38344

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Honorable J ames Todd
US DISTRICT COURT

